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 UNITED STATES DISTRICT COURT                          EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA,                       '
                                                 '
                        Plaintiff,               '
                                                 '
 versus                                          '           NO. 1:20-CR-54-MAC
                                                 '
 PAUL AARON LANDRENEAU,                          '
                                                 '
                        Defendant.               '

                 ORDER ADOPTING REPORT AND RECOMMENDATION
                     OF UNITED STATES MAGISTRATE JUDGE

          Before the court is a report and recommendation of United States Magistrate Judge

 Christine L. Stetson regarding the Defendant’s competency for trial. The parties have not filed

 objections to the report.

          Having conducted an independent review, the court concludes that the Defendant is

 competent to stand trial because he is able to understand the nature and consequences of the

 proceedings against him and able to assist his attorney in his defense. It is therefore

          ORDERED that the report and recommendation of the United States magistrate judge

 on the Defendant’s competency to stand trial is ADOPTED. It is further ORDERED that the

 Defendant, Paul Aaron Landreneau, is competent. The speedy trial time shall be excluded

 from January 20, 2021 until the date of this order.


           SIGNED at Beaumont, Texas, this 3rd day of November, 2021.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE
